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 1                                                                       The Honorable Lauren King
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                         NO. 2:25-cv-00244-LK
10                             Plaintiffs,                ORDER GRANTING PLAINTIFFS’
                                                          MOTION FOR LEAVE TO
11       v.                                               PROCEED UNDER
                                                          PSEUDONYMS
12   DONALD J. TRUMP, in his official capacity
     as President of the United States, et al.,           [PROPOSED]
13
                               Defendants.
14

15            This matter came before the Court on Plaintiffs’ Motion for Leave to Proceed Under

16   Pseudonyms. For good cause shown, the Motion is GRANTED. The Court will fully consider

17   the declarations of individuals, parents, physicians, providers, and organizations who submitted

18   declarations in support of Plaintiffs’ Motion for Temporary Restraining Order. See Dkts.

19   ## 11-119 (inclusive). The Court further orders that Physician Plaintiffs 1, 2, and 3 may continue

20   this action using the pseudonyms Physician Plaintiff 1, Physician Plaintiff 2, and Physician

21   Plaintiff 3.

22            IT IS SO ORDERED this ______ day of _______________________ 2025.

23

24                                                 The Honorable Lauren King
                                                   UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING PLAINTIFFS’                       1              ATTORNEY GENERAL OF WASHINGTON
     MOTION FOR LEAVE TO PROCEED                                          Complex Litigation Division
                                                                          800 Fifth Avenue, Suite 2000
     UNDER PSEUDONYMS [PROPOSED]                                               Seattle, WA 98104
                                                                                 (206) 464-7744
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     ORDER GRANTING PLAINTIFFS’                    2         ATTORNEY GENERAL OF WASHINGTON
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     ORDER GRANTING PLAINTIFFS’                   3            ATTORNEY GENERAL OF WASHINGTON
     MOTION FOR LEAVE TO PROCEED                                    Complex Litigation Division
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